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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              Case No.


  ALAN REDDISH,

                         Plaintiff,


  BIG PINK MATLACHA LLC a/k/a
  BIG PINK MATLACHA L.L.C., d/b/a
  MATLACHA COVE INN,

                    Defendant.
  ________________________________/


                                           COMPLAINT

         Plaintiff, ALAN REDDISH, by his undersigned counsel, hereby files this Complaint and

  sues, BIG PINK MATLACHA LLC a/k/a BIG PINK MATLACHA L.L.C. d/b/a MATLACHA

  COVE INN, for injunctive relief attorneys’ fees, and litigation costs, including but not limited to

  disbursements, court expenses, and other fees, pursuant to the Americans with Disabilities Act,

  42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the ADA’s Accessibility Guidelines, 28

  C.F.R. Part 36 (hereinafter the “ADAAG”). The mandates of 42 U.S.C. §12134(a), and the

  published revised regulations for Title III of the Americans With Disabilities Act of 1990 in the

  Federal Register to implement the requirements of the ADA. This Court has original jurisdiction

  over the action pursuant to 28 U.S.C., §§1331, and 1343 for Plaintiff’s claims arising under 42

  U.S.C. § 12181. et seq., based upon Defendant’s violations of Title III of the ADA (see also, 28

  U.S.C. §§ 2201 and 2202).




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                                              INTRODUCTION

          1.       Defendant owns and/or operates that certain hotel known as MATLACHA COVE

  INN, located in Matlacha, Florida (the “Hotel”). The Hotel has a website located at

  www.matlachacoveinn.com (the “Website”). The Hotel takes reservations through its Website

  and provides information regarding available guestrooms and amenities.

          2.       As of March 15, 2012, Defendant was required to ensure that all of its reservation

  systems, including its online reservation systems (a) identify and describe disabled accessible

  features of the Hotel in detail; (b) identify and describe disabled accessible features of ADA

  compliant guest rooms in detail; (c) permit disabled individuals to independently assess whether

  the Hotel and its available guestrooms meet their individual accessibility needs (by describing

  accessible a inaccessible features); and (d) allow reservations to be taken for accessible

  guestrooms in the same manner as for non-accessible guestrooms1. Defendant has not complied.

  This lawsuit follows.

                                      JURISDICTION AND VENUE

          3. This Court has original subject matter jurisdiction over this action pursuant to 28

  U.S.C., §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

  enumerated violations of Title III of the Americans with Disabilities Act (see also, 28 U.S.C. §§

  2201 and 2202).

          4. This Court has personal jurisdiction over Defendant in this action. Defendant owns or

  operates the Website, which is an interactive website through which Defendant seeks to

  consummate financial transaction (reservations and payments) with residents of this District (and


  1
    This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These requirements apply not
  only to the Website, but also to every online reservation system, including third party websites, on which
  reservations can be made to stay at the Hotel, including orbitz.com, travelocity.com, hotels.com, and others.



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  others) who visit the Website, and Defendant violated Plaintiff’s civil rights in this District, as

  set forth more fully below.

          5. Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2), because a substantial

  Part of the events or omissions giving rise to the claims here at issue occurred in this District;

  Plaintiff encountered Defendant’s ADA violations in this District, and the injury to Plaintiff here

  at issue occurred in this District.

                                              PARTIES

          6.      Plaintiff, ALAN REDDISH, was and is at all material times hereto above the age

  of 18 years, sui juris, and a resident of Broward County. He is a qualified individual with

  disabilities under the ADA law. Plaintiff is a confined to a motorized wheelchair since initially

  being diagnosed with primary lateral sclerosis and later diagnosed with Parkinson’s disease.

  Plaintiffs access to the premises described below (the "Property" or “Facility”) through

  Defendant's reservation system contained on its website, and therefore his full and equal

  enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

  offered at the Property, were restricted and limited because of Plaintiff s disability and will be

  restricted in the future unless and until Defendant is compelled to cure the ADA violations

  relating to the reservation system contained on its website. Plaintiff intends to visit Defendant's

  reservation system on its website for the Property soon to avail himself of the goods and/or

  services offered therein.

          7.      Plaintiff is an advocate of the rights of similarly situated disabled persons and,

  pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

  for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether




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  places of public accommodation, including online reservation systems for places of lodging, are

  in compliance with the ADA.

          8.     Defendant, BIG PINK MATLACHA LLC a/k/a BIG PINK MATLACHA L.L.C.

  d/b/a MATLACHA COVE INN, transacts business in the State of Florida and within this judicial

  district through its website. Defendant is the owner and operator of the Property, the hotel

  located at 4244 Pine Island Rd, Matlacha, FL 33993, and the corresponding reservation system

  found on its website and has control over its content. It also has control over the content listed in

  any third-party reservation providers.

           VIOLATIONS OF THE AMERICANS WITH DISABILITES ACT AND CLAIM
                           FOR INJUNCTIVE RELIEF

          9.     On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to

  provide a clear and comprehensive national mandate for the elimination of discrimination against

  individuals with disabilities and to provide clear, strong, consistent, enforceable standards

  addressing such discrimination, invoking the sweep of congressional authority in order to

  address the major areas of discrimination faced day-to-day by people with disabilities to ensure

  that the Federal government plays a central role in enforcing the standards set by the ADA. 42

  U.S.C. § 12101(b)(l) - (4).

          10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

  Department of Justice, Office of the Attorney General (“DOJ”), published revised regulations for

  Title III of the Americans With Disabilities Act of 1990. Public accommodations, including

  places of lodging were required to conform to these revised regulations on or before March 15,

  2012.




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         11.     On March 15, 2012, the revised regulations implementing Title III of the ADA

  took effect, imposing significant new obligations on inns, motels, hotels and other “places of

  lodging.” 28 C.F.R. §36.302(e)(l) provides that:

                 Reservations made by places of lodging. A public accommodation that owns,
                 leases (or leases to), or operates a place of lodging shall, with respect to
                 reservations made by any means, including by telephone, in-person, or through a
                 third party –

                        (i) Modify its policies, practices, or procedures to ensure that individuals
                        with disabilities can make reservations for accessible guest rooms during
                        the same hours and in the same manner as individuals who do not need
                        accessible rooms;

                        (ii) Identify and describe accessible features in the hotels and guest rooms
                        offered through its reservations service in enough detail to reasonably
                        permit individuals with disabilities to assess independently whether a
                        given hotel or guest room meets his or her accessibility needs;

                        (iii) Ensure that accessible guest rooms are held for use by individuals
                        with disabilities until all other guest rooms of that type have been rented
                        and the accessible room requested is the only remaining room of that type;

                        (iv) Reserve, upon request, accessible guest rooms or specific types of
                        guest rooms and ensure that the guest rooms requested are blocked and
                        removed from all reservations systems; and

                        (v) Guarantee that the specific accessible guest room reserved through its
                        reservations service is held for the reserving customer, regardless of
                        whether a specific room is held in response to reservations made by
                        others.


         12.     In promulgating the new requirements, the Department of Justice made clear that

  individuals with disabilities should be able to reserve hotel rooms with the same efficiency,

  immediacy, and convenience as those who do not need accessible guestrooms. 28 C.F.R. Part

  36, Appx. A.




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         13.     Hotels (and motels) are required to identify and describe all accessible features in

  the hotel and guestrooms; “[t]his requirement is essential to ensure individuals with disabilities

  receive information they need to benefit from the services offered by the place of lodging.” 28

  C.F.R. Part 36, Appx. A. Moreover, “a public accommodation’s designation of a guestroom as

  “accessible” does not ensure necessarily that the room complies with all of the 1991 Standards.”

  28 C.F.R. Part 36, Appx. A. Labeling a guestroom as “accessible” or “ADA” is not sufficient.

         14.     In addition, hotel rooms that are in full compliance with current standards may

  differ, and individuals with disabilities must be able to ascertain which features – in new and

  existing facilities – are included in the hotel’s accessible guest rooms. For example, under certain

  circumstances, an accessible hotel bathroom may meet accessibility requirements with either a

  bathtub or a roll in shower. The presence or absence of particular accessible features such as

  these may mean the difference between a room that is usable by a particular person with a

  disability and one that is not. 28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to

  set forth specific accessible features and not merely recite that a guestroom is “accessible” or

  “ADA” or list accessibility features that may (or may not) be offered within a particular room.

         15.     For hotels in buildings constructed after the effective date of the 1991 Standards,

  it is sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible

  guestroom, to specify the room type, the type of accessible bathing facility in the room, and the

  communications features in the room. 28 C.F.R. Part 36, Appx. A.

         16.     However, for hotels in buildings constructed prior to the 1991 Standards,

  information about the hotel should include, at a minimum information about accessible entrances

  to the hotel, the path of travel to guest check-in and other essential services, and the accessible

  route to the accessible room or rooms. In addition to the room information described above,



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  these hotels should provide information about important features that do not comply with the

  1991 Standards. For example, if the door to the “accessible” room or bathroom is narrower than

  required, this information should be included (e.g., door to guest room measures 30 inches clear).

  [emphasis added]. 28 C.F.R. Part 36, Appx. A.

            17.   The Hotel is a place of public accommodation that owns and/or leases and

  operates a place of lodging pursuant to the ADA. The Hotel is in a building constructed prior to

  the 1991 Standards.

            18.   The Website (and all other online reservation platforms used by the Hotel) allow

  reservations for the Hotel to be taken online. The Defendant has control over information

  provided to the public about the Hotel through the Website and/or other online platforms.

            19.   It is important to Plaintiff that any hotel at which he researches is accessible.

  Plaintiff frequently researches and assesses the accessible features and guestrooms of hotels

  online.

            20.   While in this District, his home district, Plaintiff visited the Website to learn

  about accessible features of Defendant’s Hotel, to assess whether the Hotel is accessible, and to

  see if he could reserve an accessible room at the Hotel online. Upon his visit, Plaintiff discovered

  that the Website did not provide him with any meaningful accessibility information at all or

  allow for the reservation of an accessible room (with known accessibility features). The Website

  provided information and took reservations related to non-accessible guestrooms, but not

  accessible guestrooms.

            21.   The Website homepage and rooms page do not list any ADA accessibility

  features, the existence of any ADA accessible rooms, and further do not set forth any of the

  required accessibility information.



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         22.     The Website also has inadequate accessibility information concerning common

  areas and hotel amenities. There is no indication at any point that the Hotel common areas meet

  the 1991 Standards, or alternatively (as applicable):

                 a.      Whether the public entrance to the Hotel complies with the 1991

                         Standards, and if not, the ways in which it does not comply, so that

                         Plaintiff and others similarly situated can evaluate whether it is accessible

                         to them;

                 b.      Whether the registration desk at the Hotel complies with the 1991

                         Standards, and if not, the ways in which it does not comply, so that

                         Plaintiff and others similarly situated can evaluate whether it is accessible

                         to them;

                 c.      Whether restaurant or other food service areas at the Hotel comply with

                         the 1991 Standards, and if not, the ways in which they do not comply, so

                         that Plaintiff and others similarly situated can evaluate whether it is

                         accessible to them;

                 d.      Whether any parking facilities, lots, or other parking accommodations at

                         the Hotel comply with the 1991 Standards, and if not, the ways in which

                         they do not comply, so that Plaintiff and others similarly situated can

                         evaluate whether it is accessible to them;

                 e.      Whether the swimming pool (if any) complies with the 1991 Standards,

                         and if not, the ways in which it does not comply, so that Plaintiff and

                         others similarly situated can evaluate whether it is accessible to them;




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              f.    Whether the business center complies with the 1991 Standards, and if not,

                    the ways in which it does not comply, so that Plaintiff and others similarly

                    situated can evaluate whether it is accessible to them;

              g.    Whether the meeting/ballroom areas comply with the 1991 Standards, and

                    if not, the ways in which they do not comply, so that Plaintiff and others

                    similarly situated can evaluate whether it is accessible to them;

              h.    Whether the route from the public entrance to the registration desk is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              i.    Whether the route from the registration desk to the accessible rooms is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              j.    Whether the route from the public entrance to the business center is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              k.    Whether the route from the accessible guestrooms to the business center is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;




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              l.    Whether the route from the public entrance to the pool (if any) is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              m.    Whether the route from the accessible guestrooms to the pool (if any) is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              n.    Whether the route from the public entrance to the fitness center is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              o.    Whether the route from the accessible guestrooms to the fitness center is

                    accessible in compliance with the 1991 Standards, and if not, the ways in

                    which it does not comply, so that Plaintiff and others similarly situated can

                    evaluate whether it is accessible to them;

              p.    Whether the route from the public entrance to the restaurant or food

                    service areas is accessible in compliance with the 1991 Standards, and if

                    not, the ways in which it does not comply, so that Plaintiff and others

                    similarly situated can evaluate whether it is accessible to them; q. Whether

                    the route from the accessible guestrooms to the restaurant or food service

                    areas is accessible in compliance with the 1991 Standards, and if not, the




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                          ways in which it does not comply, so that Plaintiff and others similarly

                          situated can evaluate whether it is accessible to them;

                   r.     Whether the route from the public entrance to the conference/ballroom

                          space is accessible in compliance with the 1991 Standards, and if not, the

                          ways in which it does not comply, so that Plaintiff and others similarly

                          situated can evaluate whether it is accessible to them;

                   s.     Whether the route from the accessible guestrooms to the meeting/ballroom

                          space is accessible in compliance with the 1991 Standards, and if not, the

                          ways in which it does not comply, so that Plaintiff and others similarly

                          situated can evaluate whether it is accessible to them;

             23.   This is not intended to be an exclusive list, and Plaintiff brings this action to

   remediate all violations of the ADAAG found to exist upon the Website, and upon all online

   reservation platforms used by the Hotel.

             24.   In addition to the list above, upon information and belief, Defendant may not

   effectively (i) ensure that accessible guest rooms are held for use by individuals with disabilities

   until all other guest rooms of that type have been rented and the accessible room requested is the

   only remaining room of that type; (ii) reserve, upon request, accessible guest rooms or specific

   types of guest rooms and ensure that the guest rooms requested are blocked and removed from

   all reservations systems; or (iii) guarantee that the specific accessible guest room reserved

   through its reservations service is held for the reserving customer, regardless of whether a

   specific room is held in response to reservations made by others. Discovery is required on these

   issues.




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          25.      Plaintiff will visit the Website again upon the Defendant’s compliance with the

   laws and regulations specified herein, in order learn about the accessible (and inaccessible)

   features of the Hotel, learn about the accessible (and inaccessible) features of Hotel guestrooms,

   assess the extent to which the hotels meet each of his specific accessibility needs, and determine

   whether he can reserve an accessible guestroom. If the Hotel is the most suited to his

   accessibility needs as compared to other suitable hotels reviewed online.

          26.     Defendant has discriminated against Plaintiff and all other mobility-impaired

   individuals, by denying full and equal access to and enjoyment of the goods, services, facilities,

   privileges, advantages and accommodations offered on the Websites, due to the continuing ADA

   and ADAAG violations as set forth above. Defendant has had eight (8) years to bring the

   Website (and other online reservation platforms, as applicable) into compliance with the

   ADAAG revisions, but has failed or refused to do so.

          27.     Modifying the Website (and other online reservation platforms, as applicable) to

   comply with the ADA and ADAAG is accomplishable without undue burden or expense and is

   readily achievable. But in any event, upon information and belief, the Website has been altered,

   updated, and edited, after 2010, but not in a manner compliant with 2010 ADAAG standards.

          28.     Defendant will continue to discriminate against Plaintiff and all other disabled

   individuals who access the Website (and other online reservation platforms, as applicable) unless

   and until Defendant modifies the Website (and other online reservation platforms, as applicable)

   to set forth all required information, as set forth above.

          29.     Plaintiff is without an adequate remedy at law and are suffering irreparable harm,

   and Plaintiff reasonably anticipates that he will continue to suffer this harm unless and until

   Defendant is required to correct the ADA violations found upon the Websites (and other online



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   reservation platforms, as applicable), and to maintain the Websites (and other online reservation

   platforms, as applicable), inclusive of the online reservation system, and accompanying policies

   and procedures, in a manner that is consistent with and compliant with ADA and ADAAG

   requirements.

          30.      Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief

   to Plaintiff, including an Order that compels Defendant to enact policies that are consistent with

   the ADA and its remedial purposes, and to alter and maintain its Website (and other online

   reservation platforms, as applicable), and all online reservation systems, in accordance with the

   requirements set forth within the 2010 Standards, 28 C.F.R. §36.302(e)(l).

          WHEREFORE, Plaintiff, ALAN REDDISH, respectfully requests that this Court enter

   judgment against Defendant, and in his favor, as follows:

                   a.     A declaration that the Website (and other online reservation platforms, as

                          applicable) is owned, leased, operated, and/or controlled by Defendant is

                          in violation of the ADA;

                   b.     Temporary and permanent injunctive relief enjoining Defendant from

                          continuing its discriminatory practices, including the requirement that

                          Defendant permanently implement policies, practices, procedures,

                          including online content, consistent with the mandates of the 2010

                          ADAAG Standards on its Website (and other online reservation platforms,

                          as applicable);

                   c.     Temporary and permanent injunctive relief enjoining Defendant from

                          maintaining or controlling content on any website through which it is

                          offering online reservations for any hotel that it owns or operates, unless



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                    such website and online reservation system fully comply with 28 C.F.R.

                    §36.302(e)(l);

              d.    An award of reasonable attorneys’ fees, costs, disbursements and other

                    expenses associated with this action, in favor of Plaintiff;

              e.    Such other and further relief as this Court deems just, necessary and

                    appropriate under the circumstances.



                                               Respectfully submitted,

                                               /s/ Glenn R. Goldstein
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